                                     23-1251
                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE TENTH CIRCUIT
    JARED POLIS, in his official capacity as Governor of the State of Colorado,
                                                    Defendant – Appellant,
                                        v.

  ROCKY MOUNTAIN GUN OWNERS, TATE MOSGROVE, and ADRIAN S.
                        PINEDA,

                                                      Plaintiffs – Appellees,
       On Appeal from the United States District Court, District of Colorado
                       The Honorable Phillip A. Brimmer
                              Chief District Judge
                  District Court Case No. 23-cv-01077-PAB-NRN

   DEFENDANT-APPELLANT’S SUPPLEMENTAL BRIEF FOLLOWING
             UNITED STATES V. RAHIMI, NO. 22-915


PHILIP J. WEISER                             Colorado Department of Law
Attorney General                             1300 Broadway, 6th Floor
MICHAEL T. KOTLARCZYK *                      Denver, Colorado 80203
Assistant Solicitor General                  Telephone: 720-508-6187
MATTHEW J. WORTHINGTON*                      E-Mail: mike.kotlarczyk@coag.gov;
Assistant Attorney General                   matt.worthington@coag.gov
                                             *Counsel of Record

                                             Attorneys for Governor Polis
       In United States v. Rahimi, an 8-1 majority of the Supreme Court had “no trouble

concluding” that a law prohibiting gun possession by individuals subject to a domestic

violence restraining order survives a facial challenge under the Second Amendment. 144

S. Ct. 1889, at 1902, 2024 WL 3074728 at *10 (U.S. June 21, 2024). The Court reached

this decision despite finding no “identical … founding-era regimes” for the challenged law.

Id. at 1901. Stating that “some courts have misunderstood the methodology of [the Court’s]

recent Second Amendment cases,” Rahimi clarifies that “the appropriate analysis involves

considering whether the challenged regulation is consistent with the principles that

underpin our regulatory tradition,” not whether it has a precise founding-era match. Id. at

1897-98 (emphasis added).

       Following Rahimi, this Court likewise should have no trouble concluding that

Colorado’s age-limit on the purchase of guns survives the Plaintiff’s facial challenge here.

First, Rahimi directly undermines the district court’s preliminary injunction order because

it made the same exact errors the Supreme Court identified in the Fifth Circuit’s Rahimi

decision: (a) requiring a historical twin, and (b) not applying precedent regarding facial

challenges. Id. at 1903. Second, the Plaintiffs are not likely to succeed under the Court’s

clarified Rahimi-Bruen test. Id. at 1898. At step one, the Plaintiffs have not shown their

proposed conduct is within the Second Amendment’s scope. At step two, the government

has shown that Colorado’s age-limit is consistent with principles in our regulatory

traditions: access to weapons by children and adolescents may be regulated to limit misuse.

Age-limits have been used repeatedly throughout our Nation’s history, including



                                             1
widespread state laws in the 19th century prohibiting sales of guns to those under twenty-

one. This Court should reverse the district court’s preliminary injunction.

I.     The district court made the same legal errors identified in Rahimi.

       The Fifth Circuit “made two errors” in Rahimi, warranting reversal by the Supreme

Court. Rahimi, at 1903. The district court below made identical errors when it enjoined

Colorado’s age-limit on gun purchases.

       First, like the Fifth Circuit, the district court “read Bruen to require a ‘historical

twin[.]’” Id. The Governor’s three expert historians showed our Nation’s history of

regulating access to weapons by those under twenty-one. Rejecting that evidence, the

district court wrote that the Governor did not present evidence of “a total prohibition on

the sale of firearms to minors” from the founding-era. Order at 39-40. The Governor was

required to show an identical law from the founding-era to justify Colorado’s age-limit.

Without it, the district court said it would not consider other evidence of an age-limit

principle, id., like later history or “that states could have regulated 18-to-20 year olds

[during the founding- era] because they lacked rights as minors.” Id. at 25 (emphasis

added).

       Rahimi directly rejects this approach. “[T]he Second Amendment permits more than

just regulations identical to ones that could be found in 1791,” Rahimi, at 1897-98. The

challenged regulation does not even need to be “an updated model of a historical

counterpart.” Rahimi, at 1925 (Barrett, J., concurring). Instead, the analysis asks “whether

the challenged regulation is consistent with the principles that underpin our regulatory

tradition.” Rahimi, at 1898. Courts are instructed to review history with “a wider lens” and

                                             2
at “the right level of generality” to find “principles that mark the borders of the right[.]”

Rahimi, at 1925-26 (Barrett, J., concurring).

       Silence on a regulatory issue at the founding also does not demonstrate that the

Second Amendment prohibits those regulations. Rahimi, at 1898. Doing so would ignore

that problems today “are not always the same as those that preoccupied the Founders in

1791 or the Reconstruction generation in 1868.” NYSRPA v. Bruen, 597 U.S. 1, 27 (2022).

Moreover, it wrongfully “assumes that founding-era legislatures maximally exercised their

power to regulate[.]” Rahimi, at 1925 (Barrett, J., concurring). Yet, that is what the district

court did below. Without an identical state statute setting the age to purchase guns at the

founding, the district court held that Colorado could not enact one today – whether that age

is twenty-one or two.

       Second, like the Fifth Circuit, the district court “did not correctly apply [] precedents

governing facial challenges.” Rahimi, at 1903. The district court correctly held here that

“[t]he Individual Plaintiffs raise a facial challenge to SB23-169” because “SB23-169 has

not been enforced against any of the Individual Plaintiffs.” Order at 17 fn.10. A facial

challenge “is the most difficult challenge to mount successfully[.]” Rahimi, at 1898

(quoting United States v. Salerno, 481 U.S. 739, 745 (1987)). For Second Amendment

facial challenges, “the Government need only demonstrate that [the gun regulation] is

constitutional in some of its applications.” Id.

       Colorado’s law prohibits gun sales to anyone under twenty-one. App. Vol. 1 at 15.

The Plaintiffs do not seriously challenge that the law is constitutional as applied to most

people under twenty-one. Answer Brief at 48 (“Obviously, [young children] do not” …

                                                3
“have the same right to keep and bear arms as adults who are over 18.”). That should end

their facial challenge. Furthermore, Colorado’s law is not a ban on acquiring, carrying, or

possessing a gun. The law prohibits gun sales while permitting gun transfers by parents.

See Colo. Rev. Stat. § 18-12-112(6).

       Rather than consider circumstances in which SB23-169 was constitutional, the

district court focused only on purported scenarios where the law prohibited those over

eighteen from purchasing a gun for “self-defense in their homes.” Order at 26. Yet, the

Plaintiffs presented no evidence that SB23-169 impacted defense of their homes. Despite

being “the most difficult challenge,” Plaintiffs presented no evidence to support their facial

challenge beyond their own declarations. App. Vol. 1 at 85-88. Plaintiffs did not submit

any testimony to rebut the Governor’s four expert witnesses. Plaintiffs cannot enjoin state

law on its face without presenting any evidence, and especially without evidence that “no

set of circumstances exists under which the Act would be valid.” Salerno, 481 U.S. at 745.

II.    Plaintiffs cannot show a likelihood of success under the revised Rahimi-Bruen
       test.

       This Court should reverse the preliminary injunction on Colorado’s age limit for

gun purchases following Rahimi. The Court has clarified the two-step test for Second

Amendment challenges. At the first step, a court considers whether the plain text of the

Second Amendment covers the plaintiff’s conduct. Bruen, 554 U.S. at 24; Rahimi, at 1907

(Gorsuch, J., concurring), at 1932 (Thomas, J., dissenting). If the conduct is covered, the

court proceeds to the second step, and asks “whether the challenged regulation is consistent

with the principles that underpin our regulatory tradition.” Rahimi, at 1898. To find these


                                              4
“principles underlying the Second Amendment[,]” a court looks at “relevantly similar …

laws that our tradition is understood to permit.” Id. (quoting Bruen, 597 U.S. at 29).

However, modern regulation “does not need to be” identical to past laws. Id. at 1901.

       A.      Plaintiffs failed to demonstrate that their conduct is covered by the
               Second Amendment’s text.

       In Rahimi, the test’s first step was not at issue: “no one question[ed] that the law Mr.

Rahimi challenge[d]” was covered by the Second Amendment. Rahimi, at 1907 (Gorsuch,

J., concurring). Nonetheless, there are several key takeaways from Rahimi that help inform

how to apply the test’s first step to this case.

       First, the Second Amendment covered Mr. Rahimi’s conduct because he challenged

a law prohibiting “possessing or using virtually any firearm[.]” Rahimi, at 1932 (Thomas,

J., dissenting). But Colorado’s law is not a ban on possession, carry, or acquisition of guns.

App. Vol. 1 at 15. The law prohibits one method of acquisition by children and adolescents

(sales), while allowing others (e.g., family transfers). Colorado’s law is not the ban on

possession covered by the text in Rahimi or Bruen.

       Second, Rahimi provides no support for Plaintiffs’ implied rights approach. The

Plaintiffs have not argued that the plain text covers their conduct. Instead, they argued only

that “[t]he right to keep arms necessarily implies the right to acquire arms.” App. Vol. 1 at

69. However, Rahimi confirms that we look to the historical meaning of the text, rather

than creating new rights by implication. Rahimi, at 1897 (“the scope of the right beg[ins]

with constitutional text and history.”) (quotation omitted). That is because “the right was

never thought to sweep indiscriminately” and “[a]t the founding, the bearing of arms was


                                                   5
subject to regulations.” Id. Implying rights without historical context fails to get to this

nuanced historical understanding of the pre-existing right. Rahimi, at 1912 (Kavanaugh, J.,

concurring) (“[H]istory helps ensure that judges do not simply create constitutional

meaning ‘out of whole cloth.’”). Plaintiffs have not met their burden by asking this Court

to imply a right without presenting any evidence that the plain text covers their conduct.

       Third, Rahimi reconfirmed Heller’s presumptively lawful gun regulations. Rahimi,

at 1901. The majority wrote that the “presumptively lawful” language in Heller was an

important limitation on the scope of Heller. Id. This language demonstrates that Heller

“never established a categorical rule that the Constitution prohibits regulations that forbid

firearm possession in the home.” Id. Colorado’s law is presumptively lawful because it

imposes “conditions and qualifications on the commercial sale of arms[,]” a category

expressly carved out in Heller. D.C. v. Heller, 554 U.S. 570, 627 (2008). Plaintiffs have

not overcome this presumption at the first step of the analysis by demonstrating Colorado’s

law is being “put toward abusive ends[.]” Bruen, 597 U.S. at 39 fn.9.

       B.     Colorado’s law is consistent with our Nation’s historic principle of
              regulating children’s and adolescent’s access to weapons to limit
              misuse.

       If the Court reaches the second step, Rahimi demonstrates that the Governor’s

evidence was sufficient to justify Colorado’s age-limit law. Colorado’s law “does not need

to be” identical to any past prohibition. Rahimi, at 1901. Instead, following Rahimi, this

Court looks to what “principles” can be derived from our regulatory tradition to inform and

“help delineate the contours” of the Second Amendment as applied to modern regulation.

Id. at 1897-98. The analysis necessarily requires a higher level of generality. The

                                             6
“principle” is derived by looking at past laws “[t]aken together,” id. at 1901, rejecting the

dissent’s view that the government must show “a single historical law has both a

comparable burden and justification[,]” id. at 1944 (Thomas, J., dissenting).

       Rahimi also helps clarify what history can be used to derive these principles. Rahimi

again declined to rule that history from the time “when the Fourteenth Amendment was

ratified in 1868” must be rejected when interpreting the Second Amendment. Rahimi, at

1898 fn.1. But the Rahimi majority also looked to mid-19th century case law to help define

its principle, Rahimi, at 1901, just as Bruen, 597 U.S. at 37, and Heller, 554 U.S. at 605-

19, did so before. Rahimi also identified 19th century laws and cases “forb[idding] carrying

[of] concealed firearms” as limiting the scope of the Second Amendment. Id. Age-limits

were often enacted in the 19th century in the same state laws prohibiting concealed carry.

App. Vol. 1 at 235, 246-282.

       “[P]ostenactment history can be an important tool … to liquidate ambiguous

constitutional provisions[.]” Id. at 1924 (Barrett, J., concurring) (quotation omitted).

Looking only to the founding “assumes that founding-era legislatures maximally exercised

their power to regulate[.]” Id. at 1925 (Barrett, J., concurring). Post-ratification “history”

is just another name for our Nation’s “tradition[s]” that help inform the original public

understanding of the right. Id. at 1916 (Kavanaugh, J., concurring) (“post-ratification

history–sometimes referred to as tradition–can also be important for interpreting vague

constitutional text[.]”). This is “especially important” when “the text is vague and the pre-

ratification history is elusive or inconclusive[.]” Id. The Supreme Court has relied on post-

ratification history “[f]or more than two centuries[,]” id. at 1918-19 (Kavanaugh, J.,

                                              7
concurring) (collecting cases), making its use to inform the Second Amendment’s scope

non-controversial.

       Applying Rahimi to this case, the Governor’s evidence demonstrated the following

common-sense principle in our regulatory tradition: access to weapons by children and

adolescents may be regulated to limit misuse.

       A fundamental principle in our Nation’s common law at the founding was that it

distinguished rights of citizens by age. Those under twenty-one were minors whose affairs

were controlled and governed by their parents. App. Vol. 1 at 153. “The historical evidence

shows that the founding generation believed parents had absolute authority over their minor

children and expected parents to use that authority to direct the proper development of their

children.” Brown v. Ent. Merchants Ass'n, 564 U.S. 786, 834, (2011) (Thomas, J.,

dissenting). “[T]he law imposed age limits on all manner of activities that required

judgment and reason.” Id. The Governor’s founding-era expert concluded that the Second

Amendment would not have been understood at the founding to limit regulations on those

under twenty-one. App. Vol. 1 at 153.

       Founding-era government intervened especially when those under twenty-one

participated in the marketplace independent from their parents. Id. at 163. Early courts used

common law principles to void contracts entered by those under twenty-one if needed for

the minor’s own protection. Id. The district court rejected this point because the common

law was not “directed specifically” at gun sales. Order at 33. But the common law did not

need to be directed specifically at guns to reveal principles. In Rahimi, the Court found

surety regimes persuasive evidence even though they were broad common law regimes not

                                             8
directed specifically at the issue of guns. Rahimi, at 1899; at 1939 (Thomas J., dissenting)

(“[a]fter providing sureties, a person kept possession of all his firearms”).

       This principle is further confirmed by looking to the one place in early America

where those under twenty-one lived outside direct control of their parents: colleges. App.

Vol. 2 at 240-43. Private and public colleges prohibited students from having guns with

them starting with Harvard College in 1655. Id. Standing alone these college regulations

might not be enough. But following Rahimi, they must be “[t]aken together” with other

evidence. Id. at 1901. Combined with common law age-restrictions, college restrictions

help confirm a principle at the founding of limiting access to weapons by those under

twenty-one.

       And this principle was further “liquidated and ascertained” post-ratification.

Rahimi, at 1917 (Kavanaugh, J. concurring) (quoting The Federalist No. 37, at 229); at

1924 (Barrett, J., concurring) (“postenactement history can be an important tool … [to]

reinforce our understanding of the Constitution’s original meaning[.]”) (quotation omitted).

The Governor’s historian expert identified over 100 laws from forty-six states that

regulated guns with an age-limit by the early 1900s. App. Vol. 2 at 232-33. The most

common age limit in these laws was twenty-one. Id. at 237. Before the Civil War, Kentucky,

Alabama, and Tennessee enacted laws prohibiting gun sales to those under twenty-one. Id.

at 234-36. Over the next forty years, sixteen states and D.C. enacted similar prohibitions

on gun sales to those under twenty-one. Id. These laws went unchallenged at the time,

except one decision upholding Tennessee’s law. State v. Callicutt, 69 Tenn. 714 (Tenn.

1878). Colorado’s age-restriction is a dead ringer for these historical state laws.

                                              9
       Taken together, the historical evidence clearly demonstrates a common principle

from the founding to today: access to weapons by children and adolescents may be

regulated to limit misuse. Colorado’s law fits well within that principle. The “how” and the

“why” have always been the same. Bruen, 591 U.S. at 29. The laws were enacted to

promote public safety in the face of underage gun use. App. Vol. 2 at 236; 371-72. They

operate by empowering parents to make decisions about gun use by their children. Id.

Colorado’s law prohibits guns sales while permitting gun transfers by parents, just as 19th

century state laws often prohibited gun sales except sales with parental consent, and

founding-era common law voided contracts made without parental consent.

       This principle also matches the “right level of generality” of the principle announced

in Rahimi. Rahimi, at 1926 (Barrett, J., concurring). The law does not use a “vague term”

to describe a class of citizens. Rahimi, at 1903. Instead, Colorado’s law clearly

“distinguishes citizens” – as our Nation has always done – by age. Id. at 1902. However,

age is ultimately only a “temporary” restriction that everyone ages out of. Rahimi, at 1902.

There is also a “special danger of misuse” by those under twenty-one. Id. at 1901. Guns

are now the leading cause of death among this age group. App. Vol. 1 at 115. The Governor

presented unrebutted expert evidence on the science behind this special danger among “late

adolescents.” App. Vol. 2 at 384-85. Plaintiffs chose not to submit any evidence challenging

this special danger. Plaintiffs are not likely to succeed at the test’s second step.

III.   Conclusion

       For the above reasons, this Court should reverse the district court’s preliminary

injunction following Rahimi.

                                              10
Dated: July 16, 2024

                       PHILIP J. WEISER
                       Attorney General

                       /s/ Matthew J. Worthington
                       Michael T. Kotlarczyk, Assistant Solicitor General*
                       Matthew J. Worthington, Assistant Attorney General*
                       1300 Broadway, 6th Floor
                       Denver, CO 80203
                       Telephone: (720) 508-6124
                       Email: mike.kotlarczyk@coag.gov;
                       matt.worthington@coag.gov
                       Attorneys for Governor Jared S. Polis
                       *Counsel of Record




                                  11
                            CERTIFICATE OF SERVICE

        I hereby certify that on July 16, 2024, I served a true and complete copy of the
foregoing DEFENDANT-APPELLANT’S SUPPLEMENTAL BRIEF
FOLLOWING UNITED STATES V. RAHIMI, NO. 22-915 upon all parties herein by
e-filing with the CM/ECF system maintained by the court addressed as follows:

Barry K. Arrington
Arrington Law Firm
4195 Wadsworth Boulevard
Wheat Ridge, Colorado 80033
Voice: (303) 205-7870
Email: barry@arringtonpc.com

Attorney for Plaintiffs-Appellees



                                                s/ Jennifer Davis-Weiser
                                                Jennifer Davis-Weiser




                                           12
